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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO

MIKE HOOD,

       Plaintiff,

vs.                                                                       No. CIV 16-0151 JB/LF

TEXAS FARMERS INSURANCE
COMPANY, FIRE INSURANCE
EXCHANGE by Fire Underwriters
Association, Attorney-in-Fact; FARMERS
INSURANCE EXCHANGE by Farmers
Underwriters Association, Attorney-in-Fact;
Fire Insurance Exchange, Farmers Insurance
Exchange, KIM GARDETTO, BRUCE
LITMAN, and DOES 1 to 50,

       Defendants.

       AMENDED MEMORANDUM OPINION AND ORDER ADOPTING THE
       MAGISTRATE JUDGE’S PROPOSED FINDINGS AND RECOMMENDED
                            DISPOSITION1

       THIS MATTER comes before the Court on the Magistrate Judge’s Proposed Findings

and Recommended Disposition, filed July 7, 2016 (Doc.23)(“PFRD”). The PFRD notifies

Plaintiff Mike Hood of his ability to file objections within fourteen days and that failure to do so



1
  The Court amends the Memorandum Opinion and Order Adopting the Magistrate Judge’s
Proposed Findings and Recommended Disposition, filed August 31, 2016 (Doc. 24)(“MOO”),
solely to reflect that it listed incorrect filing dates and document numbers. The Court’s MOO
twice states that the Magistrate Judge’s Proposed Findings and Recommended Disposition
(“PFRD”) was “filed October 28, 2015 (Doc. 11).” MOO at 1, 8. The Court alters those
statements to reflect that the PRFD was “filed July 7, 2016 (Doc. 23).” The Court’s MOO also
twice states that the Plaintiff Complaint For Damages For 1. Breach of Contract 2. Insurance Bad
Faith 3. Breach of Fiduciary Duties 4. Violation of the Trade Practices and Frauds Act, NMSA
1978 §§ 59A-16-1 to -30 5. Violation of the Unfair Practices Act, NMSA 1978, §§ 57-12-1 to -
24 (1967, as amended through 2003) (the UPA)(“Complaint”), was “filed March 2, 2016.”
MOO at 1, 8. The Court alters those statements to reflect that the Complaint was “filed January
13, 2016.” The Court makes no other alterations. This opinion does not change the Court’s
rulings.
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waives appellate review. To date, Hood has not filed any objections, and there is nothing in the

record indicating that the proposed findings were not delivered. The Court concludes that the

Honorable Laura Fashing, United States Magistrate Judge for the District of New Mexico’s

conclusions are not are clearly erroneous, arbitrary, obviously contrary to law, or an abuse of

discretion, and the Court therefore adopts them, dismisses Hood’s Complaint, filed January 13,

2016 (Doc. 1-1), without prejudice, but allows Hood twenty-one days to amend the Complaint.

If Hood does not amend his Complaint, the Court will dismiss the Complaint with prejudice.

          LAW REGARDING OBJECTIONS TO PROPOSED FINDINGS AND
                         RECOMMENDATIONS

       District courts may refer dispositive motions to a Magistrate Judge for a recommended

disposition. See Fed. R. Civ. P. 72(b)(1) (“A magistrate judge must promptly conduct the

required proceedings when assigned, without the parties’ consent, to hear a pretrial matter

dispositive of a claim or defense or a prisoner petition challenging the conditions of

confinement.”). Rule 72(b)(2) governs objections: “Within 14 days after being served with a

copy of the recommended disposition, a party may serve and file specific written objections to

the proposed findings and recommendations.” Finally, when resolving objections to a Magistrate

Judge’s proposal, “[t]he district judge must determine de novo any part of the magistrate judge’s

disposition that has been properly objected to. The district judge may accept, reject, or modify

the recommended disposition; receive further evidence; or return the matter to the magistrate

judge with instructions.” Fed. R. Civ. P. 72(b)(3). Similarly, 28 U.S.C. § 636 provides:

       A judge of the court shall make a de novo determination of those portions of the
       report or specified proposed findings or recommendations to which objection is
       made. A judge of the court may accept, reject, or modify, in whole or in part, the
       findings or recommendations made by the magistrate judge. The judge may also
       receive further evidence or recommit the matter to the magistrate judge with
       instructions.



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28 U.S.C. § 636(b)(1)(C).

       “The filing of objections to a magistrate’s report enables the district judge to focus

attention on those issues -- factual and legal -- that are at the heart of the parties’ dispute.”

United States v. One Parcel of Real Property, With Buildings, Appurtenances, Improvements,

and Contents, Known As: 2121 East 30th Street, Tulsa Okla., 73 F.3d 1057, 1059 (10th Cir.

1996) (“One Parcel”)(quoting Thomas v. Arn, 474 U.S. 140, 147 (1985)). As the United States

Court of Appeals for the Tenth Circuit has noted, “the filing of objections advances the interests

that underlie the Magistrate’s Act,[2] including judicial efficiency.” One Parcel, 73 F.3d at 1059

(citing Niehaus v. Kansas Bar Ass’n, 793 F.2d 1159, 1165 (10th Cir.1986); United States v.

Walters, 638 F.2d 947, 950 (6th Cir. 1981)).

       The Tenth Circuit has held “that a party’s objections to the magistrate judge’s report and

recommendation must be both timely and specific to preserve an issue for de novo review by the

district court or for appellate review.” One Parcel, 73 F.3d at 1060. “To further advance the

policies behind the Magistrate’s Act, [the Tenth Circuit], like numerous other circuits, ha[s]

adopted ‘a firm waiver rule’ that ‘provides that the failure to make timely objections to the

magistrate’s findings or recommendations waives appellate review of both factual and legal

questions.’” One Parcel, 73 F.3d at 1059 (citations omitted). “[O]nly an objection that is

sufficiently specific to focus the district court's attention on the factual and legal issues that are

truly in dispute will advance the policies behind the Magistrate's Act.” One Parcel, 73 F.3d at

1060. In addition to requiring specificity in objections, the Tenth Circuit has stated that “[i]ssues

raised for the first time in objections to the magistrate judge’s recommendation are deemed

waived.” Marshall v. Chater, 75 F.3d 1421, 1426 (10th Cir. 1996). See United States v.

       2
           Congress enacted the Federal Magistrates Act, 28 U.S.C. §§ 631-39, in 1968.


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Garfinkle, 261 F.3d 1030, 1030-31 (10th Cir. 2001)(“In this circuit, theories raised for the first

time in objections to the magistrate judge’s report are deemed waived.”). In an unpublished

opinion, the Tenth Circuit stated that “the district court correctly held that [a petitioner] had

waived [an] argument by failing to raise it before the magistrate.” Pevehouse v. Scibana, 229 F.

App’x 795,796 (10th Cir. 2007)(unpublished).3

       In One Parcel, the Tenth Circuit, in accord with other Courts of Appeals, expanded the

waiver rule to cover objections that are timely but too general. See One Parcel, 73 F.3d at 1060.

The Supreme Court of the United States -- in the course of approving the United States Court of

Appeals for the Sixth Circuit’s use of the waiver rule -- has noted:

       It does not appear that Congress intended to require district court review of a
       magistrate’s factual or legal conclusions, under a de novo or any other standard,
       when neither party objects to those findings. The House and Senate Reports
       accompanying the 1976 amendments do not expressly consider what sort of
       review the district court should perform when no party objects to the magistrate’s
       report. See S. Rep. No. 94-625, pp. 9-10 (1976) (hereinafter Senate Report); H.R.
       Rep. No. 94-1609, p. 11 (1976), U.S. Code Cong. & Admin. News 1976, p. 6162
       (hereinafter House Report). There is nothing in those Reports, however, that
       demonstrates an intent to require the district court to give any more consideration
       to the magistrate’s report than the court considers appropriate. Moreover, the
       Subcommittee that drafted and held hearings on the 1976 amendments had before
       it the guidelines of the Administrative Office of the United States Courts

       3
         Pevehouse v. Scibana is an unpublished opinion, but the Court can rely on an
unpublished opinion to the extent its reasoned analysis is persuasive in the case before it. See
10th Cir. R. 32.1(A), 28 U.S.C. (“Unpublished decisions are not precedential, but may be cited
for their persuasive value.”). The United States Court of Appeals for the Tenth Circuit has
stated:

       In this circuit, unpublished orders are not binding precedent, . . . and we have
       generally determined that citation to unpublished opinions is not favored.
       However, if an unpublished opinion or order and judgment has persuasive value
       with respect to a material issue in a case and would assist the court in its
       disposition, we allow a citation to that decision.

United States v. Austin, 426 F.3d 1266, 1274 (10th Cir. 2005). The Court finds that Pevehouse
v. Scibana has persuasive value with respect to a material issue, and will assist the Court in its
disposition of this Memorandum Opinion and Order.
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       concerning the efficient use of magistrates. Those guidelines recommended to the
       district courts that “[w]here a magistrate makes a finding or ruling on a motion or
       an issue, his determination should become that of the district court, unless specific
       objection is filed within a reasonable time.” See Jurisdiction of United States
       Magistrates, Hearings on S. 1283 before the Subcommittee on Improvements in
       Judicial Machinery of the Senate Committee on the Judiciary, 94th Cong., 1st
       Sess., 24 (1975) (emphasis added) (hereinafter Senate Hearings). The Committee
       also heard Judge Metzner of the Southern District of New York, the chairman of a
       Judicial Conference Committee on the administration of the magistrate system,
       testify that he personally followed that practice. See id., at 11 (“If any objections
       come in, . . . I review [the record] and decide it. If no objections come in, I
       merely sign the magistrate’s order.”). The Judicial Conference of the United
       States, which supported the de novo standard of review eventually incorporated in
       § 636(b)(1)(C), opined that in most instances no party would object to the
       magistrate’s recommendation, and the litigation would terminate with the judge’s
       adoption of the magistrate’s report. See Senate Hearings, at 35, 37. Congress
       apparently assumed, therefore, that any party who was dissatisfied for any reason
       with the magistrate’s report would file objections, and those objections would
       trigger district court review. There is no indication that Congress, in enacting
       § 636(b)(1)(C)), intended to require a district judge to review a magistrate’s report
       to which no objections are filed. It did not preclude treating the failure to object
       as a procedural default, waiving the right to further consideration of any sort. We
       thus find nothing in the statute or the legislative history that convinces us that
       Congress intended to forbid a rule such as the one adopted by the Sixth Circuit.

Thomas v. Arn, 474 U.S. at 150-52 (footnotes omitted).

       The Tenth Circuit has also noted, “however, that ‘[t]he waiver rule as a procedural bar

need not be applied when the interests of justice so dictate.’” One Parcel, 73 F.3d at 1060

(quoting Moore v. United States, 950 F.2d 656, 659 (10th Cir. 1991)(“We join those circuits that

have declined to apply the waiver rule to a pro se litigant’s failure to object when the

magistrate’s order does not apprise the pro se litigant of the consequences of a failure to object to

findings and recommendations.”)(citations omitted). Cf. Thomas v. Arn, 474 U.S. at 154 (noting

that, while “[a]ny party that desires plenary consideration by the Article III judge of any issue

need only ask. [A failure to object] does not preclude further review by the district judge, sua

sponte or at the request of a party, under a de novo or any other standard”). In One Parcel, the

Tenth Circuit noted that the district judge had decided sua sponte to conduct a de novo review

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despite the lack of specificity in the objections, but the Tenth Circuit held that it would deem the

issues waived on appeal because it would advance the interests underlying the waiver rule. See

73 F.3d at 1060-61 (citing cases from other Courts of Appeals where district courts elected to

address merits despite potential application of waiver rule, but Courts of Appeals opted to

enforce waiver rule).

       Where a party files timely and specific objections to the Magistrate Judge’s proposed

findings and recommendation, “on [] dispositive motions, the statute calls for a de novo

determination, not a de novo hearing.” United States v. Raddatz, 447 U.S. 667, 674 (1980). The

Tenth Circuit has stated that a de novo determination, pursuant to 28 U.S.C. § 636(b), “requires

the district court to consider relevant evidence of record and not merely review the magistrate

judge’s recommendation.” In re Griego, 64 F.3d 580, 583-84 (10th Cir. 1995). The Supreme

Court of the United States has noted that, although a district court must make a de novo

determination of the objections to recommendations under 28 U.S.C. § 636(b)(1), the district

court is not precluded from relying on the Magistrate Judge’s proposed findings and

recommendations. See United States v. Raddatz, 447 U.S. at 676 (“[I]n providing for a ‘de novo

determination’ rather than de novo hearing, Congress intended to permit whatever reliance a

district judge, in the exercise of sound judicial discretion, chose to place on a magistrate’s

proposed findings and recommendations.”)(quoting 28 U.S.C. § 636(b)(1)); Bratcher v. Bray-

Doyle Indep. Sch. Dist. No. 42 of Stephens Cnty., Okla., 8 F.3d 722, 724-25 (10th Cir.

1993)(holding that the district court’s adoption of the Magistrate Judge’s “particular reasonable-

hour estimates” is consistent with a de novo determination, because “the district court ‘may

accept, reject, or modify, in whole or in part, the findings or recommendations made by the

magistrate, . . . [as] ‘Congress intended to permit whatever reliance a district judge, in the



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exercise of sound judicial discretion, chose to place on a magistrate's proposed findings and

recommendations.’”)(quoting 28 U.S.C. § 636(b)(1); United States v. Raddatz, 447 U.S. at

676)(emphasis omitted).

       Where no party objects to the Magistrate Judge’s proposed findings and recommended

disposition, the Court has, as a matter of course in the past and in the interests of justice,

reviewed the Magistrate Judge’s recommendations. In Workheiser v. City of Clovis, No. CIV

12-0485 JB/GBW, 2012 WL 6846401 (D.N.M. Dec. 28, 2012)(Browning, J.), where the plaintiff

failed to respond to the Magistrate Judge’s proposed findings and recommended disposition,

although the Court determined that the plaintiff “has waived his opportunity for the Court to

conduct review of the factual and legal findings in the [proposed findings and recommended

disposition],” the Court nevertheless conducted such a review. 2012 WL 6846401, at *3. The

Court generally does not, however, review the Magistrate Judge’s proposed findings and

recommended disposition de novo, and determine independently necessarily what it would do if

the issues had come before the Court first, but rather adopts the proposed findings and

recommended disposition where “[t]he Court cannot say that the Magistrate Judge’s

recommendation . . . is clearly erroneous, arbitrary, [obviously]4 contrary to law, or an abuse of



       4
         The Court previously used as the standard for review when a party does not object to the
Magistrate Judge’s proposed findings and recommended disposition whether the
recommendation was “clearly erroneous, arbitrary, contrary to law, or an abuse of discretion,”
thus omitting “obviously” in front of contrary to law. Solomon v. Holder, CIV 12-1039
JB/LAM, 2013 WL 499300, at *4 (D.N.M. Jan. 31, 2013)(Browning J.)(adopting the
recommendation to which there was no objection, stating: “The Court determines that the PFRD
is not clearly erroneous, arbitrary, contrary to law, or an abuse of discretion, and accordingly
adopts the recommendations therein”); O’Neill v. Jaramillo, CIV 11-0858 JB/GBW, 2013 WL
499521 (D.N.M. Jan. 31, 2013)(Browning, J.)(“Having reviewed the PRFD under that standard,
the Court cannot say that the Magistrate Judge’s recommendation is clearly erroneous, arbitrary,
contrary to law, or an abuse of discretion. The Court thus adopts Judge Wormuth’s
PFRD.”)(citing Workheiser v. City of Clovis, 2012 WL 6846401, at *3); Galloway v. JP Morgan
Chase & Co., CIV 12-0625 JB/RHS, 2013 WL 503744 (D.N.M. Jan. 31, 2013)(Browning,
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discretion.” Workheiser v. City of Clovis, 2012 WL 6846401, at *3. This review, which is

deferential to the Magistrate Judge’s work when there is no objection, nonetheless provides some

review in the interest of justice, and seems more consistent with the intent of the waiver rule than

no review at all or a full-fledged review. Accordingly, the Court considers this standard of

review appropriate. See Thomas v. Arn, 474 U.S. at 151 (“There is nothing in those Reports,

however, that demonstrates an intent to require the district court to give any more consideration

to the magistrate’s report than the court considers appropriate.”). The Court is reluctant to have

no review at all if its name is going to go at the bottom of the order adopting the Magistrate

Judge’s proposed findings and recommendations.

                                           ANALYSIS

       The Court has carefully reviewed the PFRD. The Court did not review the PFRD de

novo, because the parties have not objected to it, but rather reviewed Judge Fashing’s findings

and recommendation to determine if they are clearly erroneous, arbitrary, obviously contrary to

law, or an abuse of discretion. The Court determines that they are not. Accordingly, the Court

will adopt the recommendations.

       IT IS ORDERED that: (i) the Magistrate Judge’s Proposed Findings and Recommended

Disposition, filed July 7, 2016(Doc. 23), is adopted; (ii) Plaintiff Mike Hood’s Complaint, filed


J.)(adopting the Magistrate Judge’s recommendations upon determining that they were not
“clearly contrary to law, or an abuse of discretion.”). The Court does not believe that “contrary
to law” accurately reflects the deferential standard of review that the Court intends to use when
there is no objection. Finding that a Magistrate Judge’s recommendation is contrary to law
would require the Court to analyze the Magistrate Judge’s application of law to the facts or the
Magistrate Judge’s delineation of the facts -- in other words performing a de novo review, which
is required when a party objects to the recommendations only. The Court believes adding
“obviously” better reflects that the Court is not performing a de novo review of the Magistrate
Judges’ recommendations. Going forward, therefore, the Court will, as it has done for some time
now, review Magistrate Judges’ recommendations to which there are no objections for whether
the recommendations are clearly erroneous, arbitrary, obviously contrary to law, or an abuse of
discretion.
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January 13, 2016 (Doc. 1-1), is dismissed without prejudice; and (iii) Hood has twenty-one days

from the date of this order to amend his Complaint. If Hood fails to amend his complaint within

twenty-one days, the Court will dismiss his Complaint with prejudice.




                                                     _________________________________
                                                      UNITED STATES DISTRICT JUDGE

Parties and Counsel:

Mike Hood
Santa Cruz, New Mexico

       Plaintiff pro se

Ryan M Walters
Lewis Roca Rothgerber Christie LLP
Albuquerque, New Mexico

       Attorneys for Defendants Fire Insurance Exchange




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